     Case: 1:17-cv-00937 Document #: 14 Filed: 02/08/17 Page 1 of 1 PageID #:165

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 8, 2017:


         MINUTE entry before the Honorable Joan B. Gottschall: Motion hearings held.
All parties appeared. By agreement of the parties, recess taken to allow parties to conduct
further discussions. Recess taken. The parties announced that they had agreed to the
language of an order to be entered in lieu of a temporary restraining order. Counsel
dictated the language of the order into the record. Enter separate order. In light of the
parties' agreement, the motion for temporary restraining order [7], [8] is denied without
prejudice. By agreement of the parties, the motion for preliminary injunction is entered
and continued insofar as it seeks preliminary injunctive relief. Any party wishing to
schedule a preliminary injunction hearing should notify opposing counsel and contact the
courtroom deputy. As stated in open court and in the order entered 2/7/17, the plaintiff's
motion to seal [6] is granted in part and denied in part. Defendant's oral motion to file
under seal his response to the motion for temporary restraining order and preliminary
injunction is likewise granted. The parties are ordered to deliver courtesy copies of the
proposed redacted materials to chambers by 12:00 p.m. on 2/10/17. Redacted material
should be highlighted or otherwise marked prominently on the papers. The court will
review the proposed redactions and independently determine whether good cause exists.
Defendant has until 2/26/17 to answer or otherwise plead to the complaint. Defendant
stated that he anticipates filing a motion to dismiss at least some portion of the complaint.
Status conference set for 3/15/17 at 9:30 a.m. Mailed notice(mjc, )




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